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 7 NATIONSTAR MORTGAGE LLC (erroneously
   sued as NATIONSTAR MORTGAGE)
 8

 9                                        UNITED STATES DISTRICT COURT

10               NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION

11

12 GARY LOHSE and HANNEKE LOHSE,                           Case No. 3:14-CV-00514-JCS

13                          Plaintiffs,                    STIPULATION OF DISMISSAL WITH
                                                           PREJUDICE; [PROPOSED] ORDER
14             vs.
                                                           [FRCP Rule 41(a)(1)(A)(ii)]
15 NATIONSTAR MORTGAGE; AZTEC
   FORECLOSURE CORPORATION; and                            The Hon. Joseph C. Spero
16 DOES 1 through 10, inclusive,                           Courtroom G, 15th Floor

17                          Defendants.                    Action Filed:   February 3, 2014
                                                           FAC Filed:      March 24, 2014
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     11951.0330/3263216.1                                                              3:14-CV-00514-JCS
                                                STIPULATED DISMISSAL WITH PREJUDICE; [PROPOSED] ORDER
          Case 3:14-cv-00514-JCS Document 68 Filed 02/11/15 Page 2 of 2




 1            STIPULATION OF DISMISSAL WITH PREJUDICE; [PROPOSED] ORDER
 2            Plaintiffs Gary Lohse and Hanneke Lohse (“Plaintiffs”) and Defendant Nationstar

 3 Mortgage LLC (erroneously sued as Nationstar Mortgage) (“Nationstar”), by and through their

 4 counsel of record, hereby stipulate and agree as follows:

 5            Plaintiffs hereby DISMISS the above-referenced action WITH PREJUDICE. The
 6 parties agree to bear their own attorneys’ fees, costs and any expenses.

 7            IT IS SO STIPULATED.
 8
                  Feb. 10, 2015
 9 DATED: ___________, 2014
                       xxxx                    YESK LAW

10                                             By:     /s/ Michael Yesk

11                                                                  Michael Yesk

12                                             Attorneys for Plaintiffs GARY LOHSE AND
                                               HANNEKE LOHSE
13

14
                    Feb. 11, 2015
15 DATED: ___________, 2014
                       xxxx                    Respectfully submitted,

16                                             SEVERSON & WERSON
                                               A Professional Corporation
17

18
                                                      /s/ Megan C. Kelly
19                                             By:
                                                                   Megan C. Kelly
20
                                               Attorneys for Defendant Nationstar Mortgage LLC
21                                             (erroneously sued as Nationstar Mortgage)
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23 PURSUANT TO STIPULATION, IT IS SO ORDERED.

24

25 DATED: ____________,xxxx
                       2014                       ________________________________________

26                                                The Hon. Joseph C. Spero

27                                                United States District Court Magistrate Judge

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     11951.0330/3263216.1                           2                             3:14-CV-00514-JCS
                                           STIPULATED DISMISSAL WITH PREJUDICE; [PROPOSED] ORDER
